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 Attorneys for Whitebox Advisors, LLC,
 Whitebox Multi-Strategy Partners, LP,
 and Whitebox Asymmetric Partners, LP

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------x
                                                                   :
 In re                                                             :          Chapter 11
                                                                   :
 WESTINGHOUSE ELECTRIC COMPANY                                     :          Case No. 17-10751 (MEW)
 LLC, et al.,                                                      :
                                                                   :          (Jointly Administered)
                            Debtors.1                              :
 ------------------------------------------------------------------x

    APPELLANTS’ STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL AND
     DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2250), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone &
 Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK)
 Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC
 Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
 Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC
 Contractors Inc. (4168), WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy
 Systems LLC (0328), Westinghouse Industry Products International Company LLC (3909), Westinghouse
 International Technology LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961). The
 Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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         Whitebox Advisors, LLC, Whitebox Multi-Strategy Partners, LP and Whitebox

 Asymmetric Partners, LP (the “Appellants”), by their undersigned counsel, and pursuant to Rule

 8009(a) of the Federal Rules of Bankruptcy Procedure, respectfully submit the following

 statement of issues to be presented on appeal and designation of items for inclusion in the record

 on appeal in connection with the Appellants’ appeal of the United States Bankruptcy Court for

 the Southern District of New York’s (the “Bankruptcy Court”) (i) Bench Decision Regarding

 Objections by Various Landstar Entities to Notices of Partial Transfers of Claim filed by Various

 Whitebox Entities, entered in the above referenced cases on August 1, 2018 [ECF No. 3706]2 (the

 “Bench Decision”); and (2) Order Regarding Objections by Various Landstar Entities to Notices

 of Partial Transfers of Claim filed by Various Whitebox Entities, entered on August 1, 2018

 [ECF No. 3707] (the “Order”).

                  STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL

 1.        Did the Bankruptcy Court err in concluding that the Appellants and Landstar Global

 Logisitics, Inc., Landstar Inway, Inc. and Landstar Express America, Inc. (the “Appellees”) did

 not enter into a binding, enforceable “Type II” agreement under Bear Stearns Investment

 Products, Inc. v. Hitachi Automotive Products (USA), Inc., 401 B.R. 598 (S.D.N.Y. 2009), to

 effectuate the sale of Appellees’ proofs of claim to Appellants, where Appellees agreed to sell

 specified proofs of claims to Appellants at a specific price, and Appellants accepted?




 2
         Except where otherwise noted, references to “ECF No.” are to the jointly-administered docket for the
 above-captioned debtors’ (collectively, the “Debtors”) chapter 11 cases (the “Bankruptcy Cases”) in the Bankruptcy
 Court (Case No. 17-10751-mew).


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          DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL3

         A.     Items That Appear on the Docket in the Bankruptcy Cases

     Item No.       ECF No.          Date                                  Description
     1              2428            2/6/18      Partial Transfer of Claim Other Than for Security
                                                Transferor: Landstar Inway (Claim No. 1543, Amount
                                                $120,823.05) To Whitebox Multi-Strategy Partners, LP
     2              2429            2/6/18      Partial Transfer of Claim Other Than for Security
                                                Transferor: Landstar Global (Claim No. 848, Amount
                                                $248,854.97) To Whitebox Asymmetric Partners, LP
     3              2430            2/6/18      Partial Transfer of Claim Other Than for Security
                                                Transferor: Landstar Global (Claim No. 848, Amount
                                                $269,592.88) To Whitebox Multi-Strategy Partners, LP
     4              2431            2/6/18      Partial Transfer of Claim Other Than for Security
                                                Transferor: Landstar Express America (Claim No. 853,
                                                Amount $1,747.52) To Whitebox Asymmetric Partners,
                                                LP
     5              2432            2/6/18      Partial Transfer of Claim Other Than for Security
                                                Transferor: Landstar Express America (Claim No. 853,
                                                Amount $1,893.14) To Whitebox Multi-Strategy
                                                Partners, LP
     6              2433            2/6/18      Partial Transfer of Claim Other Than for Security
                                                Transferor: Landstar Inway (Claim No. 1543, Amount
                                                $111,528.97) To Whitebox Asymmetric Partners, LP
     7              2857            3/15/18     Objection of Landstar Global Logistics, Inc., Landstar
                                                Inway, Inc. and Landstar Express America, Inc. to
                                                Notices of Partial Transfer of Claim Other Than for
                                                Security
     8              3015            4/2/18      Notice of Hearing of Objection of Landstar Global
                                                Logistics, Inc., Landstar Inway, Inc. and Landstar
                                                Express America, Inc. to Notices of Partial Transfer of
                                                Claim Other Than for Security
     9              3263            5/24/18     Letter re: Partial Transfers of Claim Other than for
                                                Security Filed by Landstar Express America, Inc.,
                                                Landstar Global Logistics, Inc. and Landstar Inway, Inc.
     10             3266            5/24/18     Whitebox’s Supplemental Brief

 3
           For the avoidance of doubt, the items designated herein for the record on appeal shall include all exhibits,
 submissions, appendices, and/or other related documents filed with each item and, with respect to hearing transcripts
 or other transcripts of proceedings designated herein, any and all documents admitted into evidence at such hearing
 or other proceeding.
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   Item No.       ECF No.       Date                           Description
  11              3402         6/1/18    Transcript regarding Hearing Held on 05/30/18
  12              3505         6/28/18   Letter to the Hon. Michael E. Wiles Filed by Daniel A.
                                         Fliman on behalf of Whitebox Advisors LLC, Whitebox
                                         Multi-Strategy Partners, LP and Whitebox Asymmetric
                                         Partners, LP
  13              3597         7/18/18   Pre-Trial Order signed on 7/16/2015 RE: Trial
                                         (Landstar’s objection to Whitebox’s notices of partial
                                         transfer of claim)
  14              3603         7/19/18   Statement of Supplemental Authority
  15              3604         7/19/18   Letter to the Court regarding supplemental authority
                                         Filed by Landstar Express America, Inc., Landstar
                                         Global Logistics, Inc. and Landstar Inway, Inc.
  16              3691         7/24/18   Transcript regarding Evidentiary Hearing Held on
                                         07/18/18
  17              3706         8/1/18    Bench Decision Regarding Objections by Various
                                         Landstar Entities to Notices of Partial Transfers of
                                         Claim filed by Various Whitebox Entities
  18              3707         8/1/18    Order Regarding Objections by Various Landstar
                                         Entities to Notices of Partial Transfers of Claim filed by
                                         Various Whitebox Entities
  19              3709         7/25/18   Transcript regarding Hearing Held on 7/20/18
  20              3732         8/14/18   Notice of Appeal

    B.        Other Items

   Item No.       ECF No.       Date                           Description
  21              N/A          8/28/18   The Bankruptcy Cases Docket as of August 28, 2018

    C.        Appellants’ Exhibits Entered Into Evidence at the July 18, 2018 Evidentiary Hearing

   Item No.       ECF No.      Exhibit                         Description
                                No.
  22                           DX 1      Email from J. Belardo to D. Bowers, attached hereto as
                                         part of Group Exhibit 1
  23                           DX 2      Email from D. Bowers to J. Belardo, attached hereto as
                                         part of Group Exhibit 1
  24                           DX 3      Email from J. Belardo to D. Bowers, attached hereto as
                                         part of Group Exhibit 1
  25                           DX 4      Email from S. Friedberg to R. Feinstein, attached hereto
                                         as part of Group Exhibit 1


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   Item No.    ECF No.     Exhibit                        Description
                            No.
  26                       DX 5      Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 1
  27                       DX 6      Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 1
  28                       DX 7      Email from D. Bowers to J. Belardo, attached hereto as
                                     part of Group Exhibit 1
  29                       DX 8      Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 1
  30                       DX 9      Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 1
  31                       DX 10     EMail from M. Woodruff to J. Belardo, attached hereto
                                     as part of Group Exhibit 1
  32                       DX 11     Email from A. Patel to D. Fliman, I. Sasson, E.
                                     Kuznick, attached hereto as part of Group Exhibit 1
  33                       DX 12     Email from A. Patel to D. Fliman, I. Sasson, E.
                                     Kuznick, attached hereto as part of Group Exhibit 1
  34                       DX 13     Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 1
  35                       DX 14     Bloomberg Message Summary, attached hereto as part
                                     of Group Exhibit 1
  36                       DX 15     Email from I. Sasson to A. Patel, D. Fliman, E.
                                     Kuznick, attached hereto as part of Group Exhibit 2
  37                       DX 16     Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 2
  38                       DX 17     Email from A. Patel to D. Fliman, I. Sasson, E.
                                     Kuznick, attached hereto as part of Group Exhibit 2
  39                       DX 18     Email from J. Belardo to D. Bowers, attached hereto as
                                     part of Group Exhibit 2
  40                       DX 19     Email from K. Spryte to J. Belardo, D. Bowers, attached
                                     hereto as part of Group Exhibit 2
  41                       DX 20     Email from M. Woodruff to J. Belardo, attached hereto
                                     as part of Group Exhibit 2
  42                       DX 21     Email from J. Belardo to K. Spryte, D. Bowers, attached
                                     hereto as part of Group Exhibit 2
  43                       DX 22     EMail from M. Woodruff to J. Belardo, attached hereto
                                     as part of Group Exhibit 2
  44                       DX 23     Email from J. Belardo to M. Woodruff, K. Fanning,
                                     attached hereto as part of Group Exhibit 2
  45                       DX 24     Email from S. Friedberg to I. Sasson, R. Feinstein,
                                     attached hereto as part of Group Exhibit 2
  46                       DX 25     Email from S. Friedberg to A. Patel, attached hereto as
                                     part of Group Exhibit 2
  47                       DX 26     Email from J. Belardo to M. Woodruff, attached hereto
                                     as part of Group Exhibit 2


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   Item No.       ECF No.      Exhibit                         Description
                                No.
  48                           DX 27     Email from M. Woodruff to J. Belardo, attached hereto
                                         as part of Group Exhibit 2
  49                           DX 28     Email from J. Belardo to M. Woodruff, attached hereto
                                         as part of Group Exhibit 2
  50                           DX 29     Email from J. Belardo to M. Woodruff, attached hereto
                                         as part of Group Exhibit 2
  51                           DX 30     Bloomberg Message Summary, attached hereto as part
                                         of Group Exhibit 2
  52                           DX 31     Email from S. Friedberg to I. Sasson, R. Feinstein,
                                         attached hereto as part of Group Exhibit 2
  53                           DX 32     Email from S. Friedberg to I. Sasson, R. Feinstein,
                                         attached hereto as part of Group Exhibit 2
  54                           DX 33     Email from S. Friedberg to I. Sasson, R. Feinstein,
                                         attached hereto as part of Group Exhibit 3
  55                           DX 34     Email from R. Feinstein to S. Friedberg, attached hereto
                                         as part of Group Exhibit 3
  56                           DX 35     Email from J. Belardo to M. Woodruff, attached hereto
                                         as part of Group Exhibit 3
  57                           DX 36     Email from J. Belardo to S. Friedberg, attached hereto
                                         as part of Group Exhibit 3
  58                           DX 37     Email from D. Fliman to A. Patel, C. Delano, S.
                                         Friedberg, attached hereto as part of Group Exhibit 3
  59                           DX 38     Email from K. Fanning to J. Belardo, attached hereto as
                                         part of Group Exhibit 3
  60                           DX 39     Email from S. Friedberg to A. Patel, attached hereto as
                                         part of Group Exhibit 3
  61                           DX 40     Bloomberg Message Summary, attached hereto as part
                                         of Group Exhibit 3

    D.        Appellees’ Exhibits Entered Into Evidence at the July 18, 2018 Evidentiary Hearing

   Item No.       ECF No.      Exhibit                         Description
                                No.
  62                           PX 1      January 24, 2018 Email from James Belardo to Dawn
                                         Bowers, attached hereto as part of Group Exhibit 4
  63                           PX 2      January 24, 2018 Email from James Belardo to Dawn
                                         Bowers, attached hereto as part of Group Exhibit 4
  64                           PX 3      January 24, 2018 Email from James Belardo to Dawn
                                         Bowers, copying Spryte Kimmey, attached hereto as
                                         part of Group Exhibit 4
  65                           PX 3-A    Attachment to PX 3, attached hereto as part of Group
                                         Exhibit 4


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   Item No.    ECF No.     Exhibit                         Description
                            No.
  66                       PX 4      January 24, 2018 Email from Amit Patel to Daniel A.
                                     Fliman, Isaac S. Sasson, and Emily L. Kuznick, copying
                                     Cindy Chen Delano, Rick Feinstein, and Scott
                                     Friedberg, attached hereto as part of Group Exhibit 4
  67                       PX 5      January 24, 2018 Email from Scott Friedberg to Isaac S.
                                     Sasson, Amit Patel, Daniel A. Fliman, and Emily L.
                                     Kuznick, copying Cindy Chen Delano and Rick
                                     Feinstein, attached hereto as part of Group Exhibit 4
  68                       PX 6      January 24, 2018 Email from James Belardo to Dawn
                                     Bowers, copying Spryte Kimmey, attached hereto as
                                     part of Group Exhibit 4
  69                       PX 6-A    Attachment to PX 6, attached hereto as part of Group
                                     Exhibit 4
  70                       PX 7      January 24, 2018 Email from Isaac S. Sasson to Amit
                                     Patel, Daniel A.Fliman, and Emily L. Kuznick, copying
                                     Cindy Chen Delano, Rick Feinstein, and Scott
                                     Friedberg, attached hereto as part of Group Exhibit 4
  71                       PX 7-A    Attachment to PX 7, attached hereto as part of Group
                                     Exhibit 4
  72                       PX 8      January 25, 2018 Email from Amit Patel to Scott
                                     Friedberg, copying Isaac, attached hereto as part of
                                     Group Exhibit 4
  73                       PX 9      January 25, 2018 Email from James Belardo to Michael
                                     Woodruff, attached hereto as part of Group Exhibit 4
  74                       PX 10     January 25, 2018 Email from Scott Friedberg to Amit
                                     Patel, Isaac S. Sasson, and Rick Feinstein, copying
                                     Cindy Chen Delano, Daniel A. Fliman, and Emily L.
                                     Kuznick, attached hereto as part of Group Exhibit 4
  75                       PX 11     January 26, 2018 Calendar invitation from Michael
                                     Woodruff to Kevin Fanning and Joel D. Appelbaum,
                                     attached hereto as part of Group Exhibit 4
  76                       PX 12     January 26, 2018 Calendar invitation from Michael
                                     Woodruff to Spryte Kimmey, Dawn Bowers, Kevin
                                     Fanning, and Joel D. Appelbaum, attached hereto as part
                                     of Group Exhibit 4
  77                       PX 13     January 29, 2018 Email from Scott Friedberg to Isaac S.
                                     Sasson and Rick Feinstein, copying Amit Patel, Cindy
                                     Chen Delano, Daniel A. Fliman, and Emily L. Kuznick,
                                     attached hereto as part of Group Exhibit 4


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   Item No.    ECF No.     Exhibit                          Description
                            No.
  78                       PX 14      January 29, 2018 Email from Scott Friedberg to Isaac S.
                                      Sasson and Rick Feinstein, copying Amit Patel, Cindy
                                      Chen Delano, Daniel A. Fliman, and Emily L. Kuznick,
                                      attached hereto as part of Group Exhibit 4
  79                        PX 15     January 30, 2018 Email from Scott Friedberg to Amit
                                      Patel, attached hereto as part of Group Exhibit 4
  80                        PX 16     January 30, 2018 Bloomberg Chat Session including
                                      James Belardo and Scott Friedberg, attached hereto as
                                      part of Group Exhibit 5
  81                        PX 17     January 30, 2018 Email from Scott Friedberg to Daniel
                                      A. Fliman, copying Amit Patel, attached hereto as part
                                      of Group Exhibit 5
  82                        PX 18     January 30, 2018 Email from Kevin A. Fanning to
                                      James Belardo, copying Scott Friedberg, Jonathan
                                      Silverman, and Joel D. Appelbaum, attached hereto as
                                      part of Group Exhibit 5
  83                        PX 18-    Attachment to PX 18, attached hereto as part of Group
                            A         Exhibit 5
  84                        PX 19     January 30, 2018 Email from Daniel A. Fliman to Amit
                                      Patel, Cindy Chen Delano, and Scott Friedberg, copying
                                      Emily L. Kuznick and Isaac S. Sasson, attached hereto
                                      as part of Group Exhibit 5
  85                        PX 20     January 30, 2018 Email from Scott Friedberg to Amit
                                      Patel, copying Isaac S. Sasson, Jonathan Silverman, and
                                      Rick Feinstein, attached hereto as part of Group Exhibit
                                      5


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                                 RESERVATION OF RIGHTS

    Appellants expressly reserve, and do not waive, the right to amend, supplement, or otherwise

 modify the foregoing designations, and/or to object to or move to strike any item designated for

 inclusion in the record on appeal by any other party. This filing is made expressly subject to, and

 without waiver of any and all rights, remedies, challenges, and objections.



  Dated: August 28, 2018                     DRINKER BIDDLE & REATH LLP
  New York, New York
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                                             Brian P. Morgan
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                                             clay.pierce@dbr.com
                                             brian.morgan@dbr.com

                                             Counsel for Whitebox Advisors, LLC, Whitebox
                                             Multi-Strategy Partners, LP and Whitebox
                                             Asymmetric Partners, LP




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